                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                                  )
CBD INDUSTRIES, LLC,              )
                                  )
                 Plaintiff,       )     Civil Action No. ______
                                  )
     v.                           )     JURY TRIAL DEMANDED
                                  )
MAJIK MEDICINE, LLC,              )
                                  )
                 Defendant.       )
                                  )

                                EXHIBIT D




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Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1553 (Rev 09/2005)
OMB No. 0651-0054 (Exp 10/31/2017)


                                       Trademark/Service Mark Amendment to Allege Use
                                                 (15 U.S.C. Section 1051(c))


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             SERIAL NUMBER                                              86914580
             LAW OFFICE ASSIGNED                                        LAW OFFICE 108
             EXTENSION OF USE                                           NO
             MARK SECTION
             MARK                                                       https://tmng-al.uspto.gov/resting2/api/img/86914580/large
             LITERAL ELEMENT                                            CBD MD
             STANDARD CHARACTERS                                        YES
             USPTO-GENERATED IMAGE                                      YES
                                                                        The mark consists of standard characters, without claim to any particular
             MARK STATEMENT
                                                                        font style, size or color.
             MISCELLANEOUS STATEMENTS SECTION
                                                                        The identification of goods for the two identified classes are being amended
                                                                        concurrently with this submission in accordance with the examiner's request
             MISCELLANEOUS STATEMENT
                                                                        to clarify the goods , the attached specimens are appropriate for all the
                                                                        goods identified in the amended descriptions
             OWNER SECTION (current)
             NAME                                                       Majik Medecine, LLC
             STREET                                                     629 Village Lane South
             CITY                                                       Mandeville
             STATE                                                      Louisiana
             ZIP/POSTAL CODE                                            70471
             COUNTRY                                                    United States
             PHONE                                                      985-259-5040
             EMAIL                                                      XXXX
             OWNER SECTION (proposed)
             NAME                                                       Majik Medicine, LLC
             STREET                                                     629 Village Lane South
             CITY                                                       Mandeville
             STATE                                                      Louisiana
             ZIP/POSTAL CODE                                            70471
             COUNTRY                                                    United States



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PHONE                                  985-259-5040
EMAIL                                  XXXX
ATTORNEY SECTION (new)
NAME                                   Blynn L. Shideler
FIRM NAME                              The BLK Law Group
INTERNAL ADDRESS                       Suite 200
STREET                                 3500 Brooktree Road
CITY                                   Wexford
STATE                                  Pennsylvania
POSTAL CODE                            15090
COUNTRY                                United States
PHONE                                  724-934-5450
FAX                                    724-934-5461
EMAIL                                  Blynn@BLKLawGroup.com
AUTHORIZED TO COMMUNICATE VIA E-MAIL   Yes
DOCKET/REFERENCE NUMBER                Majik-1601
CORRESPONDENCE SECTION (current)
NAME                                   MAJIK MEDECINE, LLC
FIRM NAME                              MAJIK MEDECINE, LLC
STREET                                 629 VILLAGE LANE SOUTH
CITY                                   MANDEVILLE
STATE                                  Louisiana
POSTAL CODE                            70471
COUNTRY                                United States
PHONE                                  985-259-5040
EMAIL                                  aabundanthealth@aol.com
AUTHORIZED TO COMMUNICATE VIA E-MAIL   Yes
CORRESPONDENCE SECTION (proposed)
NAME                                   Blynn L. Shideler
FIRM NAME                              The BLK Law Group
INTERNAL ADDRESS                       Suite 200
STREET                                 3500 Brooktree Road
CITY                                   Wexford
STATE                                  Pennsylvania
POSTAL CODE                            15090
COUNTRY                                United States
PHONE                                  724-934-5450
FAX                                    724-934-5461

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EMAIL                                     Blynn@BLKLawGroup.com; cbelleci@BLKLawGroup.com
AUTHORIZED TO COMMUNICATE VIA E-MAIL      Yes
DOCKET/REFERENCE NUMBER                   Majik-1601
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                       003
CURRENT IDENTIFICATION                    Skin and body topical lotions, creams and oils for cosmetic use
GOODS OR SERVICES                         KEEP ALL LISTED
FIRST USE ANYWHERE DATE                   02/21/2016
FIRST USE IN COMMERCE DATE                02/21/2016
                                          \\TICRS\EXPORT17\IMAGEOUT 17\869\145\86914580\xml2\
SPECIMEN FILE NAME(S)
                                          AAU0002.JPG
SPECIMEN DESCRIPTION                      Image of the product packaging containing the goods
INTERNATIONAL CLASS                       005
                                          Medicinal creams for skin care; Medicinal herbal preparations; Medicinal
CURRENT IDENTIFICATION
                                          oils; Herbs for medicinal purposes
GOODS OR SERVICES                         KEEP ALL LISTED
FIRST USE ANYWHERE DATE                   02/21/2016
FIRST USE IN COMMERCE DATE                02/21/2016
                                          \\TICRS\EXPORT17\IMAGEOUT 17\869\145\86914580\xml2\
SPECIMEN FILE NAME(S)
                                          AAU0003.JPG
SPECIMEN DESCRIPTION                      Image of the product packaging containing the goods
INTERNATIONAL CLASS                       035
                                          On-line wholesale store services featuring cosmetic and herbal products;
CURRENT IDENTIFICATION
                                          On-line wholesale store services featuring cbd sales
GOODS OR SERVICES                         DELETE ALL ITU GOODS/SERVICES IN THIS CLASS
REQUEST TO DIVIDE                         NO
PAYMENT SECTION
NUMBER OF CLASSES IN USE                  2
SUBTOTAL AMOUNT [ALLEGATION OF USE FEE]   200
TOTAL AMOUNT                              200
SIGNATURE SECTION
DECLARATION SIGNATURE                     /Blynn L. Shideler/
SIGNATORY'S NAME                          Blynn L. Shideler
SIGNATORY'S POSITION                      Attorney of Record/PA Bar Member
DATE SIGNED                               12/14/2016
SIGNATORY'S PHONE NUMBER                  724-934-5450
FILING INFORMATION
SUBMIT DATE                               Wed Dec 14 19:21:38 EST 2016
                                          USPTO/AAU-XXX.XXX.XXX.XX-


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                                 20161214192138155296-8691
                                 4580-570117a19df7c2ea4e94
TEAS STAMP                       fd5ea985ad7e7321f22d5673c
                                 c5a05c3a41ed52568c6593-CC
                                 -6415-2016121419085084363
                                 0




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PTO Form 1553 (Rev 09/2005)
OMB No. 0651-0054 (Exp 10/31/2017)




                                               Trademark/Service Mark Amendment to Allege Use
                                                          (15 U.S.C. Section 1051(c))
To the Commissioner for Trademarks:
MARK: CBD MD(Standard Characters, see https://tmng-al.uspto.gov/resting2/api/img/86914580/large)
SERIAL NUMBER: 86914580



The applicant, Majik Medicine, LLC, having an address of
    629 Village Lane South
    Mandeville, Louisiana 70471
    United States
    985-259-5040
    XXXX (not authorized)
is submitting the following allegation of use information:

For International Class 003:
Current identification: Skin and body topical lotions, creams and oils for cosmetic use

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 02/21/2016,
and first used in commerce at least as early as 02/21/2016, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) Image of the product packaging
containing the goods.
Specimen File1


For International Class 005:
Current identification: Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 02/21/2016,
and first used in commerce at least as early as 02/21/2016, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) Image of the product packaging
containing the goods.
Specimen File1


For International Class 035:
Current identification: On-line wholesale store services featuring cosmetic and herbal products; On-line wholesale store services featuring cbd
sales

All ITU goods/services in this class are to be deleted


The applicant is not filing a Request to Divide with this Allegation of Use form.

MISCELLANEOUS STATEMENTS
The identification of goods for the two identified classes are being amended concurrently with this submission in accordance with the examiner's
request to clarify the goods , the attached specimens are appropriate for all the goods identified in the amended descriptions

The applicant's current Correspondence Information: MAJIK MEDECINE, LLC of MAJIK MEDECINE, LLC

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   629 VILLAGE LANE SOUTH
   MANDEVILLE, Louisiana 70471
   United States

The applicant's proposed Correspondence Information: Blynn L. Shideler of The BLK Law Group
   Suite 200
   3500 Brooktree Road
   Wexford, Pennsylvania 15090
   United States
The docket/reference number is Majik-1601.

The phone number is 724-934-5450.

The fax number is 724-934-5461.

The email address is Blynn@BLKLawGroup.com;cbelleci@BLKLawGroup.com.
The applicant hereby appoints Blynn L. Shideler of The BLK Law Group
    Suite 200
    3500 Brooktree Road
    Wexford, Pennsylvania 15090
    United States
to submit this Trademark/Service Mark Amendment to Allege Use on behalf of the applicant. The docket/reference number is Majik-1601.

The phone number is 724-934-5450.

The fax number is 724-934-5461.

The email address is Blynn@BLKLawGroup.com.

A fee payment in the amount of $200 will be submitted with the form, representing payment for the allegation of use for 2 classes.


                                                                    Declaration

STATEMENTS: The signatory believes that: if the applicant is filing the amendment to allege use under 15 U.S.C. §1051(c) or a statement of
use under 15 U.S.C. §1051(d), the applicant is the owner of the mark sought to be registered; the mark is in use in commerce; for a trademark
or service mark application, the applicant is using the mark in commerce on or in connection with all the goods/services in the application or
notice of allowance, or as subsequently modified; for a collective trademark, collective service mark, collective membership mark
application, the applicant is exercising legitimate control over the use of the mark in commerce by members on or in connection with all the
goods/services/collective membership organization in the application or notice of allowance, or as subsequently modified; for a certification
mark application, the applicant is exercising legitimate control over the use of the mark in commerce by authorized users on or in connection
with the all goods/services in the application or notice of allowance, or as subsequently modified, and the applicant is not engaged in the
production or marketing of the goods/services to which the mark is applied, except to advertise or promote recognition of the certification
program or of the goods/services that meet the certification standards of the applicant; that to the best of the signatory's knowledge and belief, no
other persons, except, if applicable, authorized users, members, and/or concurrent users, have the right to use the mark in commerce, either in the
identical form or in such near resemblance as to be likely, when used on or in connection with the goods/services/collective membership
organization of such other persons, to cause confusion or mistake, or to deceive; and the specimen(s) shows the mark as used on or in connection
with the goods/services/collective membership organization in commerce.

DECLARATION: The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under
18 U.S.C. §1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any
registration resulting therefrom, declares that all statements made of his/her own knowledge are true and that all statements made on information
and belief are believed to be true.


Signature: /Blynn L. Shideler/    Date Signed: 12/14/2016
Signatory's Name: Blynn L. Shideler
Signatory's Position: Attorney of Record/PA Bar Member
Signatory's Phone: 724-934-5450

Mailing Address:


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 The BLK Law Group
 Suite 200
 3500 Brooktree Road
 Wexford, Pennsylvania 15090

RAM Sale Number: 86914580
RAM Accounting Date: 12/15/2016

Serial Number: 86914580
Internet Transmission Date: Wed Dec 14 19:21:38 EST 2016
TEAS Stamp: USPTO/AAU-XXX.XXX.XXX.XX-201612141921381
55296-86914580-570117a19df7c2ea4e94fd5ea
985ad7e7321f22d5673cc5a05c3a41ed52568c65
93-CC-6415-20161214190850843630




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